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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-21519-CIV-ALTONAGA/Goodman

 LINNEA RAE EDORSSON,

         Plaintiff,
 v.

 BEE FREE LLC,

       Defendant.
 ___________________/

                                                  ORDER

         THIS CAUSE came before the Court sua sponte. On April 24, 2017, Plaintiff, Linnea

 Rae Edorsson filed a Complaint [ECF No. 1] and an Application to Proceed in District Court

 Without Prepaying Fees or Costs [ECF No. 4]. Plaintiff, a pro se litigant, has not paid the

 required filing fee, and the screening provisions of 28 U.S.C. section 1915(e) apply. Pursuant to

 that statute, courts are permitted to dismiss a suit “any time . . . the court determines that . . . (B) the

 action or appeal (i) is frivolous or malicious; (ii) fails to state a claim on which relief may be

 granted; or (iii) seeks monetary relief against a defendant who is immune from such relief.” Id.

 § 1915(e)(2) (alterations added).       Because the Complaint fails to state a claim, the Court

 concludes the action must be dismissed.

         Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a “a short and plain

 statement of the claim showing the pleader is entitled to relief[.]” FED. R. CIV. P. 8(a)(2)

 (alteration added). Rule 10(b) requires that the averments of a claim be made “in numbered

 paragraphs, each limited as far as practicable to a single set of circumstances. . . . [and] [i]f doing

 so would promote clarity, each claim founded on a separate transaction or occurrence . . . must be

 stated in a separate count . . . .” FED. R. CIV. P. 10(b) (alterations added).
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        Even under the relaxed pleading standard afforded to pro se litigants, Plaintiff’s Complaint

 fails to meet the foregoing requirements. See Abele v. Tolbert, 130 F. App’x 342, 343 (11th Cir.

 2005). Plaintiff’s five-word Complaint — in its entirety — alleges “sex discrimination and

 aggressive retaliation.”   (Compl. 1).     It is wholly devoid of any facts beyond these legal

 conclusions. An EEOC form Charge of Discrimination [ECF No. 1-2] attached to the Complaint

 contains a brief factual background of Plaintiff’s case, but this overview does not comply with the

 Federal Rules.

        Independent of the insufficiency of the pleadings, the Court cannot ascertain the basis of its

 subject matter jurisdiction. The Civil Cover Sheet [ECF No. 1-1] indicates the action might be

 grounded in both diversity and federal question jurisdiction, but, again, it fails to provide facts

 allowing the Court to verify its jurisdiction over the case.

        It is therefore ORDERED AND ADJUDGED that the Complaint [ECF No. 1] is

 DISMISSED without prejudice.           The Application to Proceed in District Court Without

 Prepaying Fees and Costs [ECF No. 4] is DENIED as moot.

        DONE AND ORDERED in Miami, Florida this 25th day of April, 2017.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

 cc:    Linnea Rae Edorsson, pro se




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